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            EXHIBIT D
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                                           July 2, 2020

VIA EMAIL

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 270 Madison Avenue
 New York, NY 10016

Re: In re Keurig Green Mountain Single-Serve Coffee Antitrust Litigation; MDL No. 2542;
    Expert Identification Supplement

Dear Counsel:

       Pursuant to the Case Management Scheduling Order (Mar. 26, 2020), ECF No. 887,
Keurig identifies the following witnesses that may offer expert testimony in this matter.
Keurig’s identification of these expert witnesses is neither an admission nor acknowledgement
that Keurig bears the burden of proof on any issue on which the below-listed expert witnesses
may testify, or that expert testimony is necessary for the adjudication of any such issue. Keurig
expects to designate additional expert witnesses in accordance with the Scheduling Order, the
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Federal Rules of Civil Procedure, and all other applicable law. Keurig also reserves the right to
withdraw any of these experts prior to the submission of reports. The identification of the
subject matter of each expert’s testimony is pursuant to agreement among the parties recognizing
that this disclosure predates the submission of expert reports and is subject to revision.

Experts expected to offer testimony in all cases

             Name and Business Address                               Subject Matter
 Arthur J. Gajarsa                                       Alleged objective baselessness of
 Wilmer Cutler Pickering Hale and Dorr LLP               Keurig’s prior claims against TreeHouse
 60 State Street                                         and JBR
 Boston, MA 02109
 Kevin M. Murphy                                         Liability, antitrust or economic injury,
 The University of Chicago Booth School of Business      damages, statistics, surveys, and/or class
 5807 S. Woodlawn Avenue                                 issues
 Chicago, IL 60637
 Peter E. Rossi                                          Liability, antitrust or economic injury,
 UCLA Anderson School of Management                      damages, statistics, surveys, and/or class
 110 Westwood Plaza, B5.15                               issues
 Los Angeles, CA 90095
 Keith R. Ugone                                          Liability, antitrust or economic injury,
 Analysis Group, Inc.                                    damages, statistics, surveys, and/or class
 Park Place Center                                       issues
 2911 Turtle Creek Blvd., Suite 600
 Dallas, TX 75219

Expert expected to offer testimony in the DPP and IPP cases

            Name and Business Address                                 Subject Matter
 Laila Haider                                            Liability, antitrust or economic injury,
 Charles River Associates                                damages, statistics, surveys, and/or class
 1201 F Street NW, Suite 800                             issues
 Washington, DC 20004

Expert expected to offer testimony in the JBR case

             Name and Business Address                                Subject Matter
 Marc A. Hillmyer                                        Polymer and materials chemistry;
 University of Minnesota, Department of Chemistry        biodegradability and compostability, or
 A-4, 139 Smith Hall, 207 Pleasant Street SE             lack thereof, of certain plastics and
 Minneapolis, MN 55455                                   polymers


                                                     Sincerely,

                                                     /s/ Carl Lawrence Malm

                                                     Carl Lawrence Malm

cc: Short service list (via e-mail)
